                    IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


                                                  )
IN RE:                                            )   Case No.: 22-10571-aih
                                                  )
           MATTHEW M. MOTIL,                      )   Judge: ARTHUR I. HARRIS
                                                  )
                Debtor.                           )   Chapter 7
                                                  )
                                                  )
KAYLA VOLLER                                      )   Adv. Case No.:
10058 Severn Lane                                 )
Parker, CO 80134,                                 )
                                                  )   COMPLAINT TO DETERMINE
                Plaintiff-Creditor.               )   DISCHARGEABILITY OF A
                                                  )   PARTICULAR DEBT –
 -vs-                                             )   11 U.S.C § 523(a)(2),
                                                  )   § 523(a)(4) AND § 523(a)(19)
MATTHEW MOTIL                                     )
7011 Chadbourne Drive                             )
North Olmsted, OH 44070,                          )
                                                  )
                Defendant-Debtor.                 )
                                                  )


         NOW COMES the above-named Plaintiff, by and through undersigned counsel, and for

her Adversary Complaint against the above-named Defendant, hereby states and alleges as

follows:

                                            PARTIES

         1.    Plaintiff KAYLA VOLLER (“Plaintiff” or “Mrs. Voller”) is an individual of full

age and majority residing at the address set forth in the caption above.

         2.    Defendant MATTHEW MOTIL (“Defendant” or “Mr. Motil”) is an individual of

full age and majority residing at the address set forth in the caption above. Defendant is the debtor

in the above-captioned Chapter 7 proceeding.




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                                   JURISDICTION & VENUE

         3.     The Court has jurisdiction to hear this matter pursuant to 28 U.S.C. §§ 157 and

1334 and 11 U.S.C. § 523(a). This is an adversary proceeding pursuant to Bankruptcy Rule 7001(6)

and a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (I).

         4.     Pursuant to Bankruptcy Rule 7008, Plaintiff states consents to the entry of final

orders and judgments by the bankruptcy court.

         5.     Venue is proper in this district pursuant to 28 U.S.C. § 1409.

                                    STATEMENT OF FACTS

         6.     Matthew Motil is a conman and a snake oil salesman.

         7.     He touts himself as, among other things, a “doctor”, an expert real estate investor,

a podcaster, a bestselling author, and a professor.1

         8.     It appears that Mr. Motil has been running a Ponzi scheme for the last several years

and that his house of cards is now collapsing.

         9.     Indeed, all the tell-tale signs of a crumbling Ponzi scheme are unfolding – i.e., (a)

Mr. Motil has been making excuses regarding why distributions have been late or have not been

paid at all (blaming COVID-19, the United States Postal Service, etc.); (b) he has now stopped

returning phone calls, text messages, and emails altogether and is nowhere to be found; and (c) his

victims are rushing to court and the lawsuits are piling up in various counties in northeast Ohio.

         10.    Mr. Motil’s scam of Mrs. Voller largely mirrors that of his other victims.




1
    See https://www.drmattmotil.com/.



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       11.     Mrs. Voller lives and works in the Denver, Colorado metro area. In 2015, she was

assigned a temporary work assignment in Akron, Ohio, which required that she relocate to Akron

from January 1, 2016 through January 31, 2017.

       12.     During her spare time while working in Akron, Mrs. Voller began researching the

northeast Ohio real estate investment market.

       13.     Mrs. Voller returned to Denver after her work assignment in Akron ended in

January 2017. But she continued researching and staying updated on the northeast Ohio real estate

market, looking for an investment opportunity.

       14.     During the course of her research, Mrs. Voller was given Mr. Motil’s contact

information and website. She later signed up for his email newsletter September 13, 2017.

       15.     Mrs. Voller gave birth to her first child in November 2019. As such, she was

looking for a more passive investment as opposed to actual property ownership.

       16.     She ultimately reached out to Mr. Motil at the beginning of 2020 and requested

information about the passive investment opportunities he currently had available.

       17.     The two subsequently talked on the phone and corresponded via text and email. By

February, the parties had agreed to a short-term passive investment deal where Mrs. Voller would

invest $200,000 with Mr. Motil.

       18.     More specifically, the parties agreed that Mrs. Voller would lend $200,000 to one

of Mr. Motil’s real estate holding companies – in this case, NSEM Mansfield 1, LLC (“NSEM 1”).

       19.     The loan was secured by a Promissory Note (the “Note”) and Mortgage (the

“Mortgage”), both dated February 17, 2020 (collectively, the “Loan Documents”). (See Exs. 1 and

2 attached hereto.)

       20.     Mr. Motil executed both documents on behalf of NSEM 1.




                                                 3

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       21.     The terms of investment/loan were straightforward and are clearly set forth in the

Note. Mrs. Voller’s $200,000 was to be financed at 3.33% per month for three months (March

2020 through June 2020).2

       22.     The first month’s interest payment was prorated, followed by three $6,666.67

monthly interest payment. With the final interest payment, NSEM 1 was also required to return

Mrs. Voller’s $200,000 principal via a balloon payment. (See Note, Ex. 1 attached hereto.)

       23.     As collateral for the loan, Mrs. Voller was given a blanket mortgage lien on the

twenty-five residential properties attached to the Mortgage as Ex. A (the “Properties”).

       24.     After receiving the signed Loan Documents, Mrs. Voller wired the $200,000 to Mr.

Motil on February 19, 2020.

       25.     Thereafter, Mrs. Voller received the following payments from Mr. Motil in

accordance with the terms of the Note:

               03/06/2020     $2,503.45       (February prorated interest)
               04/03/2020     $6,666.67
               05/05/2020     $6,666.67
               06/02/2020     $6,666.67

       26.     With the final June interest payment, however, Mr. Motil did not make the required

$200,000 balloon payment – i.e., the return of Mrs. Voller’s principal and closeout of the loan.

       27.     Instead, when Mrs. Voller contacted Mr. Motil about the missed balloon payment,

he made up a story about hers and two other balloon payments getting “messed up.”

       28.     He then went on to offer Mrs. Voller the option of receiving $100,000 of her

principal back and rolling the other $100,000 into a new investment vehicle, which she agreed to.




2
  The beginning date of March 1, 2019 in the Note is a typo or scrivener’s error. The emails
between Mrs. Voller and Mr. Motil clearly establish that the intent of the parties was that this was
to be a three-month loan with a 10% return (i.e., $20,000) plus prorated interest for February.


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         29.    But that never happened. Other than sporadic so-called “investor update” emails

sent to a general email list, Mr. Motil largely went radio silent after June 2020, and Mrs. Voller

did not receive any of her principal back.

         30.    However, she continued to receive monthly interest payments of $6,666.67/month

from July 2020 through February 2021.3

         31.    After that, Mr. Motil went completely dark, and Mrs. Voller has not heard from

him since.

         32.    On March 13, 2021, Mrs. Voller wrote to Mr. Motil demanding the return of her

principal within 120 days in accordance with the express terms of her Note. Not surprisingly, Mr.

Motil never responded.

         33.    To date, Mrs. Voller has only received $75,836.82 from Mr. Motil, a far cry from

what she is still owed.

         34.    Moreover, Mrs. Voller has since discovered that Mr. Motil never recorded her

Mortgage, meaning that her loan is now possibly unsecured.

                                 STATE COURT LITIGATION

         35.    As a result of the above-referenced defaults, Plaintiff filed suit against Mr. Motil,

NSEM 1, and other parties in the Richland County Common Pleas Court, which is captioned Voller

v. Motil, et al., Case No. 2021 CV 0302 N.

         36.    The state court case was stayed as a result of Mr. Motil’s bankruptcy filing.

         37.    Plaintiff’s Complaint in the state court case is hereby incorporated herein.




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    Mr. Motil missed the August 2020 payment but paid $13,333.34 in September.


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                                         CLAIMS FOR RELIEF

        38.     Plaintiff is a creditor of Defendant and holds a claim in his bankruptcy case against

the estate (“Claim”).

                                              COUNT 1
                                         11 USC § 523(A)(2)(A)

        39.     Plaintiff incorporates each and every allegation in this Complaint, whether above

or below, as if fully restated herein.

        40.     Bankruptcy Code § 523(a)(2)(A) provides, in relevant part, that:

                (a) A discharge under section 727, 1141, 1228(a), 1228(b) or 1328(b) of this
                title does not discharge an individual debtor from any debt-

                    (2) for money, property, services, or an extension, renewal, or
                    refinancing of credit, to the extent obtained by –

                        (A) false pretenses, a false representation or actual fraud, other than
                        a statement respecting the debtor's or an insider's financial condition
                        ***.

        41.     In connection with Plaintiff’s loan and the Loan Documents, Defendant,

individually and on behalf of NSEM 1, made representations to Plaintiff that he would comply

with and abide by the representations he made, including those set forth in the Note and Mortgage.

        42.     At the time of making the loan and executing the Loan Documents, Defendant,

individually and on behalf of NSEM 1, had no intention of honoring those promises,

representations, and covenants, he made individually and on behalf of NSEM 1.

        43.     The promises and representations made by Defendant, individually and on behalf

of NSEM 1, including those promises and representations concerning the value of the Properties

and the lack of superior encumbrances against the Properties, were material promises and

representations and induced Plaintiff to enter into the Loan Documents and make the Loan.




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       44.       In the absence of the material promises and representations made by Defendant,

individually and on behalf of NSEM 1, Plaintiff would not have entered into the Loan Documents,

nor would she have made the loan.

       45.       Plaintiff reasonably and justifiably relied upon the false and fraudulent promises

made by Defendant, individually and of NSEM 1, including, but not limited to, those

representations concerning the lack of superior encumbrances against the Properties and the value

of the Properties.

       46.       The promises and representations made by Defendant, individually and on behalf

of NSEM 1, with respect to the Loan Documents and the loan were intentionally false and

fraudulent representations.

       47.       Plaintiff performed all those promises made with respect to the Loan Documents

and the Loans.

       48.       Defendant, individually and on behalf of NSEM 1, knew or should have known that

Plaintiff would rely on the false and fraudulent representations made to her concerning the Loan

Documents and the loan.

       49.       As a direct and proximate result of Defendant’s intentionally false and fraudulent

material representations, Plaintiff had been damaged in an amount in excess of $200,000.00.

       50.       Pursuant to 11 USC § 523(a)(2), Plaintiff seeks an order and judgment from the

Court holding that Plaintiff’s Claim arose as the result of a false pretense, false misrepresentation,

and/or actual fraud on the part of Defendant, and therefore such Claim is not subject to any order

of discharge entered in the Case, and that to the extent the Claim of Plaintiff is not liquidated in

another court of competent jurisdiction, that the Court liquidated the Claim of Plaintiff by entering

a monetary judgment against Defendant for actual damages in an amount determined by the Court,




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that the Court award fees and costs to Plaintiff, including her attorney fees and other legal costs,

that the Court award Plaintiff punitive damages and that the Court enter any other relief it deems

just and equitable.

                                             COUNT 2
                                         11 USC § 523(A)(4)

        51.     Plaintiff incorporates each and every allegation in this Complaint, whether above

or below, as if fully restated herein.

        52.     Bankruptcy Code § 523(a)(4) provides, in relevant part, that:

                A discharge under section 727, 1141, 1228(a), 1228(b) or 1328(b) of this
                title does not discharge an individual debtor from any debt-

                      (4) for fraud or defalcation while acting in a fiduciary capacity,
                      embezzlement, or larceny[.]

        53.     Defendant, by being the owner and/or person in control of NSEM 1, was under a

legal duty to operate in the best interest of NSEM 1 and acted in a fiduciary capacity with respect

to NSEM 1.

        54.     as a fiduciary, Defendant was under a legal obligation to act in the best interest of

NSEM 1.

        55.     Plaintiff actually, reasonably and justifiably relief on Defendant’s fiduciary

capacity with respect to NSEM 1 when entering into the Agreement and the Loans.

        56.     Defendant misappropriated and stole from NSEM 1 those funds Plaintiff had lent

to NSEM 1 under the Loans.

        57.     Defendant’s actions of misappropriating and stealing from NSEM 1 violated those

fiduciary duties Defendant had to NSEM 1.

        58.     Defendant's actions of misappropriating and stealing from NSEM 1 constitutes the

act of defalcation for purposes of § 523(a)(4).



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        59.     Defendant’s actions of misappropriating and stealing from NSEM 1 constitutes the

acts of embezzlement and larceny for purposes of § 523(a)(4).

        60.     by Defendant’s actions of misappropriating and stealing money from NSEM 1,

Plaintiff’s claim against NSEM 1 and her ability to recover against NSEM 1 under the Loans has

been diminished and such claims have been rendered potentially valueless.

        61.     As a direct and proximate result of Defendant’s actions of misappropriating and

stealing money from NSEM 1, and committing the act of defalcation while acting in a fiduciary

capacity, Plaintiff has suffered an injury and incurred damages in excess of $200,000.

        62.     Pursuant to 11 USC § 523(a)(4), Plaintiff seeks an order and judgment from the

Court holding that Plaintiff's Claim arose as the result of fraud or defalcation while acting in a

fiduciary capacity, embezzlement, or larceny on the part of Defendant, and therefore such Claim

is not subject to any order of discharge entered in the Case, and that to the extent the Claim of

Plaintiff is not liquidated in another court of competent jurisdiction, that the Court liquidated the

Claim of Plaintiff by entering a monetary judgment against Defendant for actual damages in an

amount determined by the Court, that the Court award fees and costs to Plaintiff, including her

attorney fees and other legal costs, that the Court award Plaintiff punitive damages and that the

Court enter any other relief it deems just and equitable.

                                             COUNT 3
                                         11 USC § 523(A)(19)

        63.     Plaintiff incorporates each and every allegation in this Complaint, whether above

or below, as if fully restated herein.

        64.     The Loan Documents and the loan entered into between the parties were securities

for purposes of Federal Law and applicable state law.




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        65.     Defendant, individually and on behalf of NSEM 1, sold to Plaintiff securities by

entering into the Loan Documents and accepting the loan from Plaintiff.

        66.     Defendant is not licensed to sell securities.

        67.     Defendant never registered NSEM 1 to sell securities; nor were was the loan

registered as securities.

        68.     The securities sold by Defendant, individually and on behalf of NSEM 1, did not

meet the requirements necessary to comply with Federal Securities Law and applicable state

securities law as among other matters, the necessary disclosures were not made to Plaintiff.

        69.     Defendant’s sale of a securities to Plaintiff was in violation of Federal Securities

Law and applicable state securities law and regulations issued under such laws.

        70.     This Court or another court of competent jurisdiction may enter a judgment or other

order finding that Defendant violated Federal Securities Law and applicable state securities law

and regulations issued under such laws, and that such orders and judgment may be issued after the

commencement of the Case.

        71.     Pursuant to 11 USC § 523(a)(19), Plaintiff seeks an order and judgment from the

Court holding that Plaintiff's Claim is not subject to any order of discharge entered in this

bankruptcy proceeding, and that to the extent the Claim of Plaintiff is not liquidated in another

court of competent jurisdiction, that the Court liquidated the Claim of Plaintiff by entering a

monetary judgment against Defendant for actual damages as determined by the Court, that the

Court award fees and costs to Plaintiff, including her attorney fees and other legal costs, that the

Court award Plaintiff punitive damages and that the Court enter any other relief it deems just and

equitable.




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                          GENERAL OBJECTION TO DISCHARGE

        72.     Plaintiff incorporates each and every allegation in this Complaint, whether above

or below, as if fully restated herein.

        73.     Generally, unsecured debts of a debtor are discharged in Chapter 7 bankruptcy

proceedings.

        74.     However, under 11 U.S.C. 523(c), a creditor, such as Plaintiff, may object to the

discharge of a debt pursuant to, among other things, 11 U.S.C. § 523(a)(2).

        75.     Under 11 U.S.C. § 523(a)(2)(A), a discharge under 11 U.S.C. § 1328 does not

discharge an individual debtor from any debt for money or property if that debt was obtained by

“false pretenses, a false representation, or actual fraud, other than a statement respecting the

debtor’s or an insider’s financial condition.”

        76.     As set forth herein, Defendant’s debt to Plaintiff was obtained and incurred by a

false misrepresentation, fraudulent concealment and misrepresentation, and actual fraud.

        77.     As such, said debt should not be discharged in this bankruptcy proceeding pursuant

11 U.S.C. § 523.

        78.     In fairness and justice, this Court of equity should not allow Defendant to use

bankruptcy law as a sword to further injure Plaintiff financially.

        79.     In fairness and equity, Plaintiff should have an equitable lien on all of Defendant’s

personal property and available funds and against all the Properties until full payment and

restitution is made to Plaintiff.

        80.     This Court is requested to grant an equitable lien, and such order should survive

this bankruptcy case and remain valid and enforceable regardless of the pendency of the case, and




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the retention of jurisdiction to so find existence of an equitable lien and to enforce same is hereby

requested.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Kayla Voller demands judgment against Debtor/Defendant

Matthew Motil and prays for the following relief:

       A.      A finding that Defendant’s debt to Plaintiff is not dischargeable in this
               bankruptcy proceeding.

       B.      Imposition of an equitable lien against all of Defendant’s assets and the
               Properties.

       C.      A hearing or trial in order to determine the exact amount of Mr. Glynias’
               damages, including compensatory damages, punitive damages, attorney’s
               fees, interest and costs; and

       D.      Any such other relief that the Court deems just and proper.


                                                      Respectfully submitted,

                                                       /s/ Evan T. Byron
                                                      Evan T. Byron, Esq. (0081100)
                                                      KAUFMAN, DROZDOWSKI
                                                      & GRENDELL, LLC
                                                      29525 Chagrin Blvd, Suite 250
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                                                      Counsel for Plaintiff Kayla Voller




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                                    JURY DEMAND

      Plaintiff respectfully demands a trial by jury on all issues so triable.



                                                     /s/ Evan T. Byron
                                                     Evan T. Byron, Esq. (0081100)




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